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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  SUPERNUS PHARMACEUTICALS, INC.

                                 Plaintiff,        Civil Action No. 21-12133 (MEF)(MAH)
                                                   (consolidated)
  v.
                                                   (Filed Electronically)
  RICONPHARMA LLC and INGENUS
  PHARMACEUTICALS, LLC,

                                Defendants.



       STIPULATION AND ORDER OF DISMISSAL WITHOUT PREJUDICE

                This action for patent infringement having been brought by Plaintiff Supernus

 Pharmaceuticals, Inc. (“Supernus”) against Defendants RiconPharma LLC and Ingenus

 Pharmaceuticals, LLC (collectively, “Ricon”).

                Pursuant to Fed. R. Civ. P. 41, Supernus and Ricon by and through their

 undersigned counsel, hereby stipulate, that:

                1.     All claims, counter-claims, and defenses asserted by Supernus and Ricon

 are dismissed without prejudice; and

                2.     Each party shall bear its own costs and attorneys’ fees with respect to the

 matters dismissed hereby.
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  Dated: August 18, 2023

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                                        Pharmaceuticals LLC


 SO ORDERED
         8/21/2023
 Dated: __________                  __________________________________
                                          ________________
                                    Hon. Michael
                                          ichael E.
                                                 E Farbiarz,
                                                     aarrbiarz U.S.D.J.
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